    Case 4:15-cr-00095-WTM-CLR Document 260 Filed 06/29/16 Page 1 of 1




                                                                   :T COURT
                IN THE UNITED STATES DISTRICT COURT
                    SOUTHERN DISTRICT OF GEORGIA
                          SAVANNAH DIVISION                          HH: 35

UNITED STATES OF AMERICA

V.                                            CASE NO. CR415-095

STACY PAUL WADDELL,

        Defendant.


                               ORDER

        Before the Court is the Magistrate Judge's Report and

Recommendation (Doc. 235), to which objections have been

filed (Doc, 243) . After a careful de novo review of the

record, the Court finds Defendant's objections to be

without merit. Accordingly, the report and recommendation

is ADOPTED       as the Court's opinion in this case. As a

result, Defendant's Motion to Dismiss Third Superseding

Indictment (Doc. 213; Doc. 219) is DENIED.'
                               7"
        SO ORDERED this         day of June 2016.




                                     WILLIAM T. MOORE,
                                     UNITED STATES DISTRICT COURT
                                     SOUTHERN DISTRICT OF GEORGIA



1
  While the Government has subsequently filed a Fourth
Superseding Indictment (Doc. 244), this latest indictment
contains only minor clerical changes. Therefore, this Court
elected to rule on the merits of Defendant's arguments,
rather than dismiss his motion as moot.
